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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION


THERESA LEININGER on behalf of herself
and all others similarly situated;

        Plaintiff,                                     Case No.: 3:22-cv-00394-JZ

vs.                                                    JUDGE JACK ZOUHARY

MAMMOTH TECH, INC;

        Defendant.


         DECLARATION OF JEFFREY C. MILLER IN SUPPORT OF ENTRY OF
                   DEFAULT AND DEFAULT JUDGEMENT

            Jeffrey C. Miller, pursuant to 28 U.S.C. §1746 declares the following:


            1.       My name is Jeffrey C. Miller. I am over the age of 18, of sound mind, never

      been convicted of a felony and capable of making this affidavit, and personally acquainted

      with the facts stated herein.

            2.       I am the local counsel for Theresa Leininger on behalf of herself and all

      others similarly situated (hereinafter "Plaintiff") in this matter against Defendant

      mammoth Tech, Inc. (“Defendant”) and I submit this declaration pursuant to Fed. R. Civ.

      P.55(a) and (b) in support of the Clerk’s entry of default and default judgment.

            3.       The Plaintiffs are seeking default judgment against Defendant.

            4.       Defendant was an Ohio corporation at all relevant times in this matter.

            5.       Defendant has not entered an appearance, answered, nor responded in any

      way to the allegations as set forth in the Plaintiffs' Complaint which was served upon them

      on March 19, 2022, via certified mail (Exhibit A).
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         6.       The Proof of service (see Exhibit A) confirms that Defendant was properly

   served with the summons and complaint on March 19, 2022

         7.       Upon information and belief, Defendant is neither an infant nor an

   incompetent.

         8.       Upon information and belief, Defendant is not a member of the military.

         9.       The Plaintiffs are seeking a hearing on damages as well as damage

   categories (after some limited time for discovery) due to the complexities of the class

   action nature of this matter.

         I declare under penalty of perjury under the laws of the State of Ohio that the

  foregoing is true and accurate.



                                                   Brennan, Manna & Diamond, LLC

                                                   /s/ Jeffrey C. Miller
                                                   Jeffrey C. Miller (0068882)
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                                               -   And-

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                                                   THE GARDNER FIRM
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                                                   M. Vance McCrary (MCCRM4402)
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                                            Attorneys for Plaintiff




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